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Maxx Phillips (HI Bar No. 10032)
CENTER FOR BIOLOGICAL DIVERSITY
1188 Bishop Street, Suite 2412
Honolulu, HI 96813
Phone: (808) 284-0007
Email: mphillips@biologicaldiversity.org

Brian Segee (CA Bar No. 200795)
admitted pro hac vice
CENTER FOR BIOLOGICAL DIVERSITY
660 S. Figueroa St., Suite 1000
Los Angeles, CA 90017
Phone: (805) 750-8852
Email: bsegee@biologicaldiversity.org

Attorneys for Plaintiff

                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

 CENTER FOR BIOLOGICAL                       Case No. CV 22-00373 HG-WRP
 DIVERSITY,
        Plaintiff,
                                             AFFIDAVIT OF SERVICE
            v.
 DEB HAALAND, et al.,
        Defendants.


      I hereby certify that service of the Complaint, Summons, and other case

initiating documents for the above captioned case took place as described below.




                                        1
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      On August 12, 2022, copies of the Complaint, Summons, and other case

initiating documents were sent by USPS Certified Mail, electronic return receipt

requested, to the following parties:

      Deb Haaland, Secretary of the Interior
      U.S. Department of the Interior
      1849 C Street NW
      Washington, DC 20240-0001
      (USPS Tracking # 9414811899561774072407)

      Martha Williams, Director
      U.S. Fish and Wildlife Service
      1849 C Street NW
      Washington, DC 20240-0001
      (USPS Tracking # 9414811899561774070229)

      U.S. Fish and Wildlife Service
      1849 C Street NW
      Washington, DC 20240-0001
      (USPS Tracking # 9414811899561774072506)

      Office of the Attorney General
      U.S. Department of Justice
      950 Pennsylvania Ave NW
      Washington, DC 20530-0001
      (USPS Tracking # 9414811899561774071714)

      Civil Clerk, U.S. Attorney's Office
      300 Ala Moana Blvd, Rm 6100
      Honolulu, HI 96850-6100
      (USPS Tracking # 9414811899561774071714)

      The U.S. Attorney’s Office for the District of Hawai'i received the

documents on August 16, 2022. Defendants Deb Haaland, Martha Williams, and




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the U.S. Fish and Wildlife Service received the documents on August 17, 2022.

The Attorney General’s Office received the documents on August 18, 2022.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.


DATED: September 6, 2022              Respectfully Submitted,

                                      /s/Maxx Phillips
                                      Maxx Phillips (HI Bar No. 10032)
                                      CENTER FOR BIOLOGICAL DIVERSITY
                                      1188 Bishop Street, Suite 2412
                                      Honolulu, HI 96813
                                      Phone: (808) 284-0007
                                      Email: mphillips@biologicaldiversity.org

                                      Brian Segee (CA Bar No. 200795)
                                      admitted pro hac vice
                                      CENTER FOR BIOLOGICAL DIVERSITY
                                      660 S. Figueroa St., Suite 1000
                                      Los Angeles, CA 90017
                                      Phone: (805) 750-8852
                                      Email: bsegee@biologicaldiversity.org




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